151 F.3d 1024
    Brett A. Clarkv.Roy L. Schneider, Governor, Julio Brady, Attorney General,Gwendolyn P. Adams, V.I. Finance Commissioner, S. ElwoodYork, Director of Bureau of Correction, Derick Ballentine,Work Detail Supervisor, Eustace Roper, Inmate Accounts Supervisor
    NO. 97-7443
    United States Court of Appeals,Third Circuit.
    April 17, 1998
    
      Appeal From:  D.V.I. ,No.96cv00019 ,
      Finch, J.; Appealing after remand 107 F.3d 6
    
    
      1
      Affirmed.
    
    